              Case 3:21-cv-03866-LB Document 136-5 Filed 08/01/24 Page 1 of 4



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 7   Attorneys for Plaintiffs
 8

 9                                  UNITED STATES DISTRICT COURT

10                                 NORTHERN DISTRICT OF CALIFORNIA

11                                     SAN FRANCISCO DIVISION

12
     DONALD LOEBER and MARIE LOEBER by                Case No.: 3:21-CV-03866-LB
13   and through her Successor In Interest,
     MICHELLE LOEBER,                                 [PROPOSED] ORDER DENYING
14                                                    DEFENDANT UNITED STATES OF
15
                     Plaintiffs,                      AMERICA’S MOTION TO DISMISS

16                                                    Date: August 22, 2024
             v.                                       Time: 9:30 a.m.
17                                                    Dept.: Courtroom B – 15th Floor
18
     UNITED STATES OF AMERICA,                        Honorable Judge Beeler
19                                                    United States Magistrate Judge
                     Defendant.
20

21           Having considered the motion papers and opposition papers and materials submitted to the

22   Court by all parties including Plaintiffs DONALD LOEBER and MARIE LOEBER by and
23   through her Successor In Interest, MICHELLE LOEBER and all papers submitted by Defendant
24   UNITED STATES OF AMERICA, and having heard oral argument from counsel for Defendant

25   and from counsel for Plaintiff, this Court hereby ORDERS the following:

26   //

27   //

28   //

     [PROPOSED] ORDER DENYING DEFENDANT UNITED STATES OF AMERICA’S MOTION TO DISMISS
     No.: 3:21-CV-03866-LB
                                         - 1 -
            Case 3:21-cv-03866-LB Document 136-5 Filed 08/01/24 Page 2 of 4



 1            1. Defendant’s Motion to Dismiss is Hereby Denied.
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 3
     Dated: __________________                ______________________________________
 4                                                  Judge of the Superior Court

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     [PROPOSED] ORDER DENYING DEFENDANT UNITED STATES OF AMERICA’S MOTION TO DISMISS
     No.: 3:21-CV-03866-LB
                                         - 2 -
              Case 3:21-cv-03866-LB Document 136-5 Filed 08/01/24 Page 3 of 4



 1                                         PROOF OF SERVICE
 2
             I, Brittany Rogers, am employed in the County of San Francisco, State of California. I am
 3   over the age of eighteen years and not a party to the within action; my business address is 425
     California Street, Suite 900, San Francisco, California, 94104.
 4
     I served the foregoing document(s) described as the following:
 5

 6
      [PROPOSED] ORDER DENYING DEFENDANT UNITED STATES OF AMERICA’S
 7                          MOTION TO DISMISS

 8   [X]     by placing the original [X] true copy(ies) thereof enclosed in sealed envelopes addressed as
     follows:
 9
     [ ]    BY ELECTRONIC SERVICE/NEF: Service was accomplished through the Notice of
10
     Electronic Filing for parties and counsel who are registered ECF Users.
11
     [ ]     BY PERSONAL SERVICE: I caused such envelopes to be delivered by hand this date to
12   the persons listed below:
13   [ X ] EMAIL-FRCP 5(b)(2)(E) pursuant to written consent to service by electronic means by
     placing in a secure email in accordance with this office’s practice, and addressed to the party’s last
14
     known email address listed below:
15

16          I declare under penalty of perjury that the foregoing is true and correct. Executed on
     August 1, 2024 in San Francisco, California.
17
                                            ______/s/ Brittany Rogers_____
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                                                    Brittany Rogers
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     [PROPOSED] ORDER DENYING DEFENDANT UNITED STATES OF AMERICA’S MOTION TO DISMISS
     No.: 3:21-CV-03866-LB
                                         - 3 -
            Case 3:21-cv-03866-LB Document 136-5 Filed 08/01/24 Page 4 of 4



 1                                      SERVICE LIST
 2
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     [PROPOSED] ORDER DENYING DEFENDANT UNITED STATES OF AMERICA’S MOTION TO DISMISS
     No.: 3:21-CV-03866-LB
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